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                                                                              Bilfings
                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF MONTANA

                               BILLINGS DIVISION


UNITED STATES OF AMERICA,                      Cause No. CR 04-87-BLG-RFC

             Plaintiff/Respondent,

      vs.                                      ORDER DENYING § 2255 MOTION
                                               AND DENYING CERTIFICATE
RONALD E. SMITH,                               OF APPEALABILITY

             Defendant/Movant.


      On February 5, 2013, Defendant/Movant Ronald E. Smith filed a motion to

vacate, set aside, or correct his sentence under 28 U.S.C. § 2255. Mot. (doc. 805) atl

iii! 1-2. Smith is a federal prisoner proceeding pro se.
      Smith asks that his sentence be altered under U.S.S.G. § 5Gl.3(b) so that he

will receive credit for 692 days served in custody between April 30, 2004, and March

22, 2006. March 22, 2006, is the date of his original sentencing. Minutes (doc. 490).

This Court's records do not reflect what happened on April 30, 2004. Smith's own

exhibits refer to June 24, 2004; that makes more sense, as Smith was arrested on the



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federal warrant on June 23, 2004. Warrant Return (doc. 54).

      But the record also shows that Smith was sentenced in state court on June 21,

2004, for an offense he committed on October 28, 2002. Presentence Report~ 151.

All the offenses alleged in this case occurred between April 2003 and December

2003. Superseding Indictment (doc. 91 ). Neither the quantity of methamphetamine

found in the vehicle he abandoned nor any other aspect of the state offense were

considered as "relevant conduct to the instant offense of conviction," and the state

offenses did not form "the basis for an increase in the offense level for the instant

offense under Chapter Two (Offense Conduct) or Chapter Three (Adjustments)."

U.S.S.G. § 5Gl.3(b). Presentence Report~~ 87-90 (Zindler), 131-141. Section

5G l .3(b) does not apply. Smith is not entitled to a reduction of his federal sentence.

      Smith is not entitled to a certificate of appealability because he does not allege

that he was deprived of a constitutional right, 28 U.S.C. § 2253(c)(2), merely that he

was entitled to application of a guideline that does not, in fact, apply.


      Accordingly, IT IS HEREBY ORDERED as follows:

       1. Smith's motion to vacate, set aside, or correct the sentence under 28 U.S.C.

§ 2255 (doc. 805) is DENIED;

       2.   A certificate of appealability is DENIED. The Clerk of Court shall



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immediately process the appeal if Smith files a Notice of Appeal;

      3. The Clerk of Court shall ensure that all pending motions in this case and in

CV 13-18-BLG-RFC are terminated and shall close the civil file by entering judgment

in favor of the United ~:'land against Smith.

      DATED thisµ:_ day of April, 2013,;//


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                            Richard F. Cebull
                          ~ United States District Court




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